Case 1:19-cv-01277-TWP-TAB Document 1 Filed 03/29/19 Page 1 of 4 PageID #: 1


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

Mary Busher,                        )
                                    )
            Plaintiff,              )
                                    )
      vs.                           ) Case No.: 1:19-cv-1277
                                    )
Radius Global Solutions, LLC,       )
                                    )
            Defendant.              )
____________________________________)_________________________________________

         COMPLAINT SEEKING DAMAGES FOR VIOLATION OF
           THE FAIR DEBT COLLECTION PRACTICES ACT

                                          Introduction

   1. This is an action for actual and statutory damages, legal fees and costs pursuant to the Fair
      Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq (hereinafter referred to as the
      “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive, and unfair
      practices. Id.

   2. The purpose of the FDCPA is to eliminate abusive debt collection practices by debt
      collectors, to insure that those debt collectors who refrain from using abusive debt
      collection practices are not competitively disadvantaged, and to promote consistent State
      action to protect consumers against debt collection abuses. Id.

   3. If a violation occurs, “the FDCPA is a strict liability statute that makes debt collectors
      liable for violations that are not knowing or intentional.” Donohue v. Quick Collect, Inc.,
      592 F.3d 1027, 1030 (9th Cir. 2010).

   4. Even a single violation of the FDCPA is sufficient to support liability. Taylor vs. Perrin,
      Landry, deLaunay, & Durand, 103 F.3d 1232, 1238 (5th Cir. 1997).

                                          Jurisdiction

   5. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §
      1692k(d).

                                             Venue

   6. Venue is proper in this Judicial District

   7. The acts and transactions alleged herein occurred in this Judicial District.


                                                  1
Case 1:19-cv-01277-TWP-TAB Document 1 Filed 03/29/19 Page 2 of 4 PageID #: 2


  8. The Plaintiff resides in this Judicial District.

  9. The Defendant transacts business in this Judicial District.

                                              Parties

  10. The Plaintiff, Mary Busher, is a natural person.

  11. The Plaintiff is a “consumer” as that term is defined by § 1692a.

  12. The Plaintiff is “any person” as that term is used in 15 U.S.C. § 1692d preface.

  13. The Defendant, Radius Global Solutions, LLC, (hereinafter referred to as “Defendant”), is
      a debt collection agency and/or debt purchaser operating from an address at 7831 Glenroy
      Road, #250, Edina, MN 55439.

  14. The Defendant is a debt collection agency and the Defendant is licensed by the State of
      Indiana. See Exhibit “1” attached hereto.

  15. Defendant regularly attempts to collect, directly or indirectly, debts owed or due or asserted
      to be owed or due another.

  16. The Defendant regularly collects or attempts to collect, directly or indirectly, debts owed
      or due or asserted to be owed or due another that arose out of transactions in which the
      money, property or services which are the subject of the transactions are primarily for
      personal, family or household purposes.

                                         Factual Allegations

  17. The Defendant is a debt collection agency attempting to collect a debt from Plaintiff.

  18. The Plaintiff incurred a debt to that was for primarily for personal, family or household
      purposes as defined by §1692(a)(5).

  19. The debt owed by Plaintiff went into default.

  20. After the debt went into default the debt was placed or otherwise transferred to the
      Defendant for collection.

  21. The Plaintiff disputes the debt.

  22. The Plaintiff requests that the Defendant cease all further communication on the debt.

  23. The Defendant’s collector(s) were employee(s) and/or representative(s) of the Defendant
      at all times mentioned herein.

  24. The Defendant acted at all times mentioned herein through its employee(s) and/or
      representative(s).

                                                  2
Case 1:19-cv-01277-TWP-TAB Document 1 Filed 03/29/19 Page 3 of 4 PageID #: 3


  25. The Plaintiff retained John Steinkamp for legal representation regarding the Plaintiff’s
      debts.

  26. Prior to August 13, 2018, the Defendant had been attempting to collect a debt from
      Plaintiff.

  27. On August 13, 2018, the Plaintiff’s legal counsel sent a letter to the Defendant via
      facsimile. This letter notified the Defendant that the Plaintiff had retained legal counsel
      and provided Defendant with contact information for said counsel. This facsimile
      transmission to the Defendant was successfully received by the Defendant. See Exhibit
      “2” attached hereto.

  28. Communications sent via facsimile are assumed to have been received by the intended
      recipient if the facsimile confirmation indicates a successful transmission. See Laouini v.
      CLM Freight Lines, Inc., 586 F.3d 473 (7th Cir., 2009)(holding that facsimile confirmation
      generated by the…fax machine was sufficient to create a factual dispute that …was
      received…); Bridgeview Health Care Center Ltd. v. Clark, 2011 WL 4585028, 3 (N.D.Ill
      2011)(“Indeed, in the facsimile transmission context, it is commonly understood that
      ‘success’ means that ‘the two fax machines have performed an electronic “handshake” and
      that the data has been transmitted from one machine to the other.”).

  29. Despite this notice of legal representation, On January 10, 2019, the Defendant sent a
      dunning letter directly to the Plaintiff in an attempt to collect a debt. See Exhibit “3”
      attached hereto.

  30. Defendant’s violations of the FDCPA were material because, although Plaintiff had been
      informed by counsel and reasonably believed that she had the protection against being
      contacted directly by debt collectors, Defendant’s continued collection communications
      would make the unsophisticated consumer believe that her notice of legal representation
      had been futile and that she did not have the rights Congress had granted her under the
      FDCPA.

  31. The Defendant’s collection communications are to be interpreted under the
      “unsophisticated consumer” standard. See Gammon vs. GC Services, Ltd. Partnership, 27
      F.3d 1254, 1257 (7th Cir. 1994).

                                   First Claim for Relief:
                                  Violation of the FDCPA

  1. The allegations of Paragraphs 1 through 31 of the complaint are realleged and incorporated
      herewith by references.

  2   The Defendant contacted a consumer it knew to be represented by legal counsel which
      constitutes a violation of 15 U.S.C. § 1692c.

  3   The Defendant’s acts and omissions constitute a violation of 15 U.S.C. § 1692d.

  4   The Defendant’s acts and omissions constitute a violation of 15 U.S.C. § 1692e.

                                               3
Case 1:19-cv-01277-TWP-TAB Document 1 Filed 03/29/19 Page 4 of 4 PageID #: 4


  5   The Defendant’s acts and omissions constitute a violation of 15 U.S.C. § 1692f.

  6   As a result of the above violations of the FDCPA, Defendant is liable to Plaintiff for actual
      damages, statutory damages of $1,000 per defendant, attorney fees, and costs.


                                       Prayer for Relief

      WHEREFORE, the Plaintiff prays that the Court grant the following:

      1. A finding that the Defendant violated the FDCPA and/or an admission from the
         Defendant that it violated the FDCPA.

      2. Actual damages under 15 U.S.C. § 1692k(a)(1).

      3. Statutory damages under 15 U.S.C. § 1692k(a)(2)(A).

      4. Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

      5. Such other and further relief as the Court deems just and proper.


      Respectfully submitted,

      /s/ John T. Steinkamp
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                                                4
